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 1   Cole R. Lusby
     840 S. Rancho Dr, #4-402
 2   Las Vegas, NV 89106
     colerlusby@gmail.com
 3   (702) 219-2256
     Pro Se Defendant
 4
                                  UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
                                                      ~oOo~
 6
     UNITED STATES OF AMERICA,                                       Case # 2:16-CR-00181-APG-PAL-1
 7                   Plaintiff.

 8                                                                   STIPULATION TO EXTEND
     vs.                                                             TIME TO REPLY TO
 9                                                                   GOVERNMENT'S RESPONSE
                                                                     (ECF No. 100)
10   COLE LUSBY,
                            Defendant.
11

12

13          IT IS HEREBY STIPULATED by Defendant Cole Lusby, pro se, and Bianca Pucci, Assistant

14   United States Attorney, that the deadline on which defendant must file his reply brief to the

15   Government's Response (ECF No. 100) be extended seven days from 10/20/2020 to 10/27/2020.

16          The stipulation is entered for the following reasons:

17          1.      The parties are discussing a resolution in Case # 18-CR-00136 that has bearing on the

18   instant matter and the parties need more time to discuss and coordinate details of said resolution.

19          2.      The parties agree to this continuance.

20          Dated this 16th day of October, 2020.

21

22    /s/ Cole Lusby                                                   /s/ Bianca Pucci

23   Cole R. Lusby, Pro Se Defendant                                Bianca Pucci, Assistant U.S. Attorney
            Case 2:16-cr-00181-APG-VCF Document 103 Filed 10/20/20 Page 2 of 2


 1                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 2                                                 ~oOo~

 3   UNITED STATES OF AMERICA,                                Case # 2:16-CR-00181-APG-PAL-1
                     Plaintiff.
 4

 5   vs.
                                                              ORDER
 6
     COLE LUSBY,
 7                         Defendant.

 8

 9

10          Based upon the stipulation of the parties and good cause appearing, IT IS HEREBY

11   ORDERED that the defendant’s reply brief to the Government's Response (ECF No. 100) shall be

12   due on or before October 27, 2020.

13

14            October 20, 2020
     DATED: _______________________________

15

16                                                           ________________________________

17                                                           UNITED STATES DISTRICT JUDGE

18
